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                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


MELISSA ROSS,

           Movant

v.                                            CIVIL ACTION NO. 2:05-95
                                              (Criminal No. 2:01-00254-01)

UNITED STATES OF AMERICA,

           Respondent


                        MEMORANDUM OPINION AND ORDER


           The court having received the proposed findings and

recommendation of the United States Magistrate Judge filed on

November 23, 2005, pursuant to the provisions of 28 U.S.C.

§ 636(b)(1)(B); and having reviewed the record in this

proceeding; and there being no objections filed by either the

United States or the movant to the proposed findings and

recommendation; and it appearing proper so to do, it is ORDERED

that the findings and conclusions made in the proposed findings

and recommendation of the magistrate judge be, and they hereby

are, adopted by the court.


           It is, accordingly, ORDERED that the movant's motion

pursuant to 28 U.S.C. § 2255 be, and it hereby is, denied.
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           The Clerk is directed to forward copies of this order

to the movant, all counsel of record, and the magistrate judge.

                                         DATED: March 1, 2006


                                         John T. Copenhaver, Jr.
                                         United States District Judge
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